                 Case 2:19-cr-00063-JCC Document 41 Filed 10/02/20 Page 1 of 2




                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                                CASE NO. CR19-0063-JCC
10                             Plaintiff,                     ORDER
11          v.

12   BRANDAN WILKINS,

13                             Defendant.
14

15          This matter comes before the Court on the parties’ joint status report (Dkt. No. 40). The
16   Court previously vacated the trial date in this case and set the matter for an October 6, 2020
17   status conference, holding that the date of the Court’s order and the date of the status conference
18   should be excluded under the Speedy Trial Act. (Dkt. Nos. 22, 27, 31, 34, 36, 37, 38, 39.)
19          Over the past six months, the COVID-19 pandemic has significantly impacted the
20   Court’s operations. (See General Orders 01-20, 02-20, 07-20, 08-20, 11-20, 13-20, 15-20 each of
21   which the Court incorporates by reference.) Specifically, the pandemic has rendered the Court
22   unable to obtain an adequate spectrum of jurors to represent a fair cross section of the
23   community, and public health guidance has impacted the ability of jurors, witnesses, counsel,
24   and Court staff to be present in the courtroom. (See generally id.) While conditions have
25   improved, the Court does not anticipate that the pandemic’s impacts will sufficiently resolve in
26   the near term to conduct Defendant’s trial. Accordingly, the Court now FINDS the ends of


     ORDER
     CR19-0063-JCC
     PAGE - 1
               Case 2:19-cr-00063-JCC Document 41 Filed 10/02/20 Page 2 of 2




 1   justice served by extending the trial to no earlier than January 2021 outweigh Defendant’s and

 2   the public’s best interests in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this

 3   finding are:

 4          1. The COVID-19 pandemic has rendered the Court unable to obtain an adequate

 5              spectrum of jurors to represent a fair cross section of the community, which would

 6              likely make proceeding in the near term impossible or, at a minimum, would result in

 7              a miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

 8          2. Public health guidance has impacted the ability of jurors, witnesses, counsel, and
 9              Court staff to be present in the courtroom. Therefore, proceeding in the near term
10              would likely be impossible. See 18 U.S.C. § 3161(h)(7)(B)(i).
11   Accordingly, the Court ORDERS:
12          1. The status conference scheduled for October 6, 2020 is VACATED.
13          2. The parties are ORDERED to file a joint status report on or before December 11,
14              2020. The report should include a proposed briefing schedule for pending motions
15              and a proposed trial date. If the parties are unable to agree on any part of the report,
16              they may answer in separate paragraphs; no separate reports are to be filed.
17          3. The period from the date of this order though January 1, 2021 is an excludable time
18              period under 18 U.S.C. section 3161(h)(7)(A).

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20          DATED this 2nd day of October 2020.




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                                                           John C. Coughenour
24                                                         UNITED STATES DISTRICT JUDGE
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     ORDER
     CR19-0063-JCC
     PAGE - 2
